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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA, )

Plaintiff, 5 Criminal No.: 5:18-CR-185 (NAM)
v.
KAMAR BOATMAN, )

Defendant.

DISMISSAL OF FORFEITURE ALLEGATION
Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of Court
endorsed hereon, the United States Attorney for the Northern District of New York hereby
dismisses the Forfeiture Allegation set forth in Indictment 18-CR-185 against KAMAR
BOATMAN, defendant in the above-captioned case.
The reason(s) for this dismissal are (check one or more):
__ Case transferred to another District
__. Speedy Trial Act
__ Defendant’s cooperation
____ Insufficient evidence at this time
__X_Other: Property included in the Indictment for forfeiture has already been
administratively forfeited by the Bureau of Alcohol, Tobacco and
Firearms
With respect to this dismissal, defendant (check one):
___ Consents
__ Objects

X_ Has not been consulted
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The government respectfully requests that this dismissal be made without prejudice.

DATE: June 27, 2018
Respectfully submitted,

GRANT C. JAQUITH
United States Attorney

By: /s/ Tamara B. Thomson
Tamara B. Thomson
Assistant United States Attorney
Bar Roll No. 515310

Leave of court is granted for the filing of the dismissal of the Forfeiture, which is made
without prejudice.

Dated: pote (‘1 , 2018 VYorrraee A Mrofee

N. NORMAN A. MORDUE
enior United States District Judge
